     Case 18-34808-SLM          Doc 979    Filed 06/15/20   Entered 06/15/20 13:40:44             Desc

   IRS        Department of the Treasury      Page 1 of 1
              Internal Revenue Service
   955 S SPRINGFIELD AVE, BLDG A
                                                               Chapter and Case Number:
   SPRINGFIELD, NJ 07081
                                                               11 18-34808-SLM
                                                               Person to Contact:
                                                               DEVERE OKAFOR
                                                               Contact Telephone Number:

   Date:   June 12, 2020                                       (973) 921-4300
                                                               Employee Fax Number:
                                                                855-652-9055
                                                               Employee Identification Number:
                                                               0209997


   STACEY L. MEISEL
   UNITED STATES BANKRUPTCY COURT
   50 WALNUT STREET, 3RD FLOOR
   NEWARK, NJ 07102-2506


   Debtor: FRANK THEATRES BAYONNE/SOUTH COVE
   Bankruptcy Filed December 19, 2018


   This is to certify that the records of the Internal Revenue Service reflect that the Proof of
   Claim filed on behalf of the Internal Revenue Service dated 02/27/2019 is no longer in force
   and effect.

   If you have any questions, our contact information is shown above. Thank you for your
   cooperation.



for /s/ ANDREW T AVON
   sup Revenue Office


   cc: FRANK THEATRES BAYONNE/SOUTH COVE
       JOSEPH J DIPASQUALE




                                                                                    Letter 3931CG (11-2004)
                                                                                    Catalog Number 38952B
